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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                   ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                 Case No. 2:08-cr-0311-RLH-GWF
                                         )
10         vs.                           )                               ORDER
                                         )
11   HAGOB PALIKYAN,                     )
     ARMAN PALIKYAN,                     )
12   GARY AMBARTSUMYAN,                  )
                                         )
13                     Defendants.       )
     ____________________________________)
14

15                  Before this Court are the Findings & Recommendation of United States Magistrate

16   Judge (#95, filed June 2, 2009), entered by the Honorable George W. Foley, regarding Defendants

17   Hagob Palikyan and Arman Palikyan’s Joint Motion to Dismiss (#75, filed May 6, 2009), and Co-

18   Defendant Gary Amabrsumyan’s Joinder (#80). A joint objection (#97) and a joinder (#99) thereto

19   was filed to Magistrate Judge Foley’s Findings and Recommendation of United States Magistrate

20   Judge, in accordance with Local Rule IB 3-2 of the Rules of Practice of the United States District

21   Court for the District of Nevada. The Government has filed a Response (#102) thereto, and the

22   matter was submitted for consideration.

23                  The court has conducted a de novo review of the record in this case in accordance

24   with 28 U.S.C. §636(b)(1)(B) and (C) and Local Rule IB 3-2 and determines that the Findings and

25   Recommendation of Magistrate Judge Foley should be accepted and adopted.

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 1                IT IS THEREFORE ORDERED that Magistrate Judge’s Findings and Recommenda-

 2   tion (#95, entered June 2, 2009) is ACCEPTED and ADOPTED, Defendants’ Motion to Dismiss is

 3   denied.

 4                Dated: June 15, 2009.

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 6                                                    _________________________________
                                                      ROGER L. HUNT
 7                                                    Chief U.S. District Judge

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